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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

VANESSA JONES-WATT,          )
                             )
                  Plaintiff, )
                             )
           vs.               )                       Case No. 19-cv-04887
                             )
HEALTHCARE REVENUE RECOVERY )
GROUP, LLC d/b/a ARS ACCOUNT )
RESOLUTION SERVICES,         )
                             )
                  Defendant. )

                                 NOTICE OF SETTLEMENT


       PLEASE TAKE NOTICE, that the above referenced matter has been resolved between

the parties pending the exchange and approval of final settlement papers. Plaintiff respectfully

requests that the Court retain continuing jurisdiction over this matter pending the prompt filing of

a Stipulation/Notice of Dismissal with Prejudice herein.

Dated: August 15, 2019

                                                                       Respectfully submitted,
                                                                      By: /s/Celetha C. Chatman
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                                     CERTIFICATE OF SERVICE

        I, Celetha Chatman, an attorney, hereby certify that on August 15, 2019, I electronically

filed the foregoing document using the CM/ECF system, which will send notification of such

filing to all attorneys of record.


 Dated: August 15, 2019                                                     Respectfully submitted,


                                                                      By:      /s/ Celetha Chatman




By: /s/Celetha C. Chatman

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